Case 8:19-cv-02198-JLS-KES Document 22 Filed 12/29/20 Page 1 of 2 Page ID #:427



  1
  2
  3                                                     JS-6
  4
  5
  6
  7
  8
  9
                         UNITED STATES DISTRICT COURT
 10
                        CENTRAL DISTRICT OF CALIFORNIA
 11
 12
      FULLERTON SQUARE FITNESS                 Case No. 8:19-cv-02198 JLS
 13   GROUP, LLC, a California limited         (KESx)
      liability company, d/b/a PLANET
 14   FITNESS,                                 ORDER GRANTING JOINT
                                               STIPULATION FOR
 15                  Plaintiff,                DISMISSAL WITH
                                               PREJUDICE (Doc. 21)
 16         v.
 17   RAYMOND GROUP, LLC, a
      California limited liability
 18   company; and DOES 1 through
      10, inclusive,
 19
                     Defendants.
 20
 21
 22
 23
 24
 25
 26
 27
 28
Case 8:19-cv-02198-JLS-KES Document 22 Filed 12/29/20 Page 2 of 2 Page ID #:428



  1         Having considered the parties’ joint Stipulation for dismissal
  2   with prejudice of this entire action pursuant to Federal Rule of Civil
  3   Procedure Rule 41(a)(1)(A)(ii), the Court GRANTS the Stipulation.
  4   The entire action, including all claims and counterclaims stated
  5   therein against all parties, is hereby dismissed with prejudice, with
  6   each party to bear its own costs, expenses, and attorneys’ fees.
  7
  8   IT IS SO ORDERED.
  9
 10
      Dated: December 29, 2020
 11
 12
 13
                                   ______________________________________
 14                                HON. JOSEPHINE L. STATON
 15                                UNITED STATES DISTRICT JUDGE

 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28
